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                UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                      ATLANTA DIVISION

VOTER PARTICIPATION
CENTER, et al.,

                            Plaintiffs,   Case No. 1:21-cv-01390-JPB
v.                                             Judge J.P. Boulee

BRAD RAFFENSPERGER, in his
official capacity as Secretary of
State of the State of Georgia, et al.,

                         Defendants,

and


REPUBLICAN NATIONAL
COMMITTEE, et al.,

                         Intervenor-
                         Defendants.


      PLAINTIFFS’ MEMORANDUM OF LAW IN OPPOSITION TO
     STATE DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
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                                   INTRODUCTION
       Material fact disputes concerning the character of Plaintiffs’ speech, the

nature and magnitude of the challenged restrictions’ abridgment of their rights,

and the strength and tailoring of the State’s asserted interests preclude summary

judgment. These factual disputes bar summary judgment even if this Court

applies the standards Defendants (wrongly) propose. While Plaintiffs marshal

considerable evidence supporting their claims, Defendants offer paltry and

inadmissible support for their purported interests. At trial, Plaintiffs will establish

that their activity is protected speech and that the challenged restrictions fail First

Amendment scrutiny. Plaintiffs are entitled to the opportunity to make that factual

showing and this Court should deny Defendant’s summary judgment motion.

                                    BACKGROUND
       Plaintiffs Voter Participation Center and Center for Voter Information

distribute personalized absentee ballot application communications to inform and

encourage voters to trust absentee voting, and then assist them to easily participate

in the political process. Plaintiffs’ advocacy works, having convinced over 663,500

Georgians to apply to vote absentee using a VPC/CVI mailer during the 2020

election cycle. Ex. 15, Lopach PI Decl. ¶ 23; Id. at 35-39, 40-45. Plaintiffs’ mailers

convey their message and persuade selected recipients to vote absentee. Ex. 15 at

3-4, 6, 9, 14, 23, 33 ¶¶ 7-10, 12, 17, 24, 34, 54, 71; Ex. 13, Diaz Decl. Ex. B at 38.



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      Despite the successes of these efforts, in 2021 Georgia passed Senate Bill 202,

including three challenged provisions (the “Ballot Application Restrictions” or

“Restrictions”) that abridge Plaintiffs’ First Amendment rights by limiting their

distribution of absentee ballot applications. First, the Prefilling Prohibition bars

Plaintiffs from distributing communications with applications that are “prefilled

with the elector’s required information.” O.C.G.A. § 21-2-381(a)(1)(C)(ii). Through

data vendors, Plaintiffs periodically draw voter registration information from the

State’s databases and then use that information to personalize the applications

they send to their selected recipients. Ex. 15 at 8, 26-27 ¶¶ 22, 61; Dep. of Thomas

Lopach (“Lopach Tr.”) 113:9-13. Plaintiffs take on the extra expense to personalize

because doing so makes their advocacy more persuasive and reduces transaction

costs. Ex. 24, Expert Report of Donald Green at 8; Ex. 26, Am. Expert Rebuttal

Report of Donald Green at 8-14. SB 202 categorically prohibits this practice.

      Second, the Mailing List Restriction requires that anyone distributing

applications can do so “only to individuals who have not already requested,

received, or voted an absentee ballot in the” election. O.C.G.A. § 21-2-381(a)(3)(A).

It provides that a group must “compare its mail distribution list with” an

undefined list of “most recent information available about which electors” are

restricted to then “remove the names of such electors.” Id. Although it specifies

that entities can rely on information that is five business days old, id., it fails to

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account for the fact that nothing in Georgia law requires the State to maintain that

list (much less guarantee its accuracy), there are imperfections in any such lists,

and the size of mailer programs like Plaintiffs’ simply cannot make midstream,

five-day adjustments. 6/9/22 PI Tr. 61:10-63:14; Ex. 15 at 12, 22-26 ¶¶ 33, 53-59.

Failure to strictly comply, however, can result in $100 fines per violation and

potential criminal penalties, including a misdemeanor with a sentence of up to

twelve months confinement. O.C.G.A. §§ 21-2-381(a)(3)(B), 21-2-598, 21-2-603, 21-

2-599. This forces Plaintiffs to minimize their communications, including sending

only one mailer in 2022. Lopach Tr. 133:19-134:4; Ex. 24 at 9-11; Ex. 26 at 14-16.

      Third, the Disclaimer Provision broadly requires that “[a]ny application …

sent to any voter by any person or entity” must affix a confusing disclaimer:

             This is NOT an official government publication and was
             NOT provided to you by any governmental entity and
             this is NOT a ballot. It is being distributed by [insert
             name and address of person, organization, or other
             entity distributing such document or material].

O.C.G.A. § 21-2-381(a)(1)(C)(ii). The Disclaimer is required for any distribution of

applications—by mail or otherwise. Id. It contradictorily must be stamped on a

State-mandated application that is titled “Application for Georgia Official

Absentee Ballot.” Ex. 12. And it primes voters to question whether the third-party

communication is legitimate by juxtaposing the disclaimer next to a voter fraud

warning. Id. Overall, it compels Plaintiffs to convey a State-mandated message that

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they oppose, in part because it misleadingly suggests that Plaintiffs’ applications

are unofficial or illegitimate. Ex. 15 at 30-32 ¶¶ 67-69; Ex. 24 at 6-8; Ex. 26 at 3-8.

                                LEGAL STANDARD
      Summary judgment should be denied if there are any genuine disputes of

material fact. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 250 (1986). The movant

has the burden of proof, “[t]he evidence of the non-movant is to be believed, and

all justifiable inferences are to be drawn in his favor.” Id. at 255. If the movant “fails

to show that the facts ... are not in dispute, then summary judgment should be

denied—even if the non-moving party has introduced no evidence whatsoever.”

Edmondson v. Velvet Lifestyles, LLC, 43 F. 4th 1153, 1160 (11th Cir. 2022) (quotations

omitted). And “even in the absence of a genuine issue as to a material fact, the

need for a more detailed factual basis ... to decide a complicated legal issue may

warrant denial of” summary judgment. Harriet Tubman Freedom Fighters Corp. v.

Lee, 576 F. Supp. 3d 994, 1001 (N.D. Fla. 2021) (quotations and alterations omitted).1

                                     ARGUMENT
I.    Plaintiffs’ Distribution Of Absentee Ballot Applications Is Protected
      Speech, Expressive Conduct, And Associational Activity.
      Plaintiffs’ communications advocating for absentee voting are protected

speech, conduct, and associational activity. Speech concerning the electoral



1 The Court’s legal and factual rulings at the preliminary injunction stage are not

binding here. J-B Weld Co., LLC v. Gorilla Glue Co., 978 F.3d 778, 794 (11th Cir. 2020).

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process receives utmost constitutional protection. Brown v. Hartlage, 456 U.S. 45,

52-53 (1982). Because the First Amendment was “fashioned to assure unfettered

interchange of ideas for the bringing about of political and social changes,” Meyer

v. Grant, 486 U.S. 414, 421 (1988), courts must “be vigilant ... to guard against undue

hindrances to political conversations and the exchange of ideas,” Buckley v. Am.

Constitutional Law Found., Inc., 525 U.S. 182, 191-92 (1999). Accordingly, protected

political speech is broadly defined, such as “the expression of a desire for political

change,” “communication of information,” and “dissemination and propagation

of views and ideas” about the electoral process. Meyer, 486 U.S. at 421-22 & n.5

(citing Schaumburg v. Citizens for a Better Env’t, 444 U.S. 620, 632 (1980)).

      The First Amendment protects Plaintiffs’ personalized application mailers

under several conceptualizations of the doctrine. And because “the reaches of the

First Amendment are ultimately defined by the facts it is held to embrace,” Hurley

v. Irish-Am. Gay, Lesbian & Bisexual Grp. of Bos., 515 U.S. 557, 567 (1995), material

fact disputes on the nature of Plaintiffs’ speech preclude summary judgment.

      A.     The Disclaimer Provision Compels Plaintiffs’ Speech.
      As this Court held, the Disclaimer Provision implicates First Amendment

rights because it compels Plaintiffs’ speech. ECF 131 at 33, 36. “Compelled

statements of fact ... are subject to First Amendment scrutiny.” Rumsfeld v. FAIR,

547 U.S. 47, 62 (2006). This is so even if the disclaimer is compelled on a State-


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generated form, see Doe v. Marshall, 367 F. Supp. 3d 1310, 1324-26 (M.D. Ala. 2019),

and regardless of whether it is accurate. See McIntyre v. Ohio Election Comm’n, 514

U.S. 334, 355 (1995); NIFLA v. Becerra, 138 S. Ct. 2361, 2372 (2018).

      Indeed, Defendants’ admission that the Disclaimer affects speech proves too

much. See Br. in Supp. of Defs.’ Mot. for Summ. J. (“Br.”), ECF 149-1 at 2-3. If the

Disclaimer compels Plaintiffs’ speech on the applications, it follows that the

applications themselves are, much like initiative petitions, communicative despite

their electoral function.2 As such, SB 202’s other provisions likewise affect speech.

      B.     Distributing Personalized Applications Is The Dissemination Of
             Information Protected By The First Amendment.
      Conveying information and personalizing applications is protected speech.

When speakers “‘disclose,’ ‘publish,’ or ‘disseminate’ information, they engage in

‘speech.’” NetChoice v. Att’y Gen., Fla., 34 F.4th 1196, 1210 (11th Cir. 2022) (quoting

Sorrell v. IMS Health Inc., 564 U.S. 552, 570 (2011)). The First Amendment protects

Plaintiffs’ “communication of information” and “dissemination and propagation

of views and ideas” encouraging absentee voting. Meyer, 486 U.S. at 421-22 & n.5.




2 This point also refutes Defendants’ analogy to Timmons v. Twin Cities Area New

Party, 520 U.S. 351 (1997), arguing that absentee applications are never expressive
because they claim that ballots are not. ECF 113 at 13. They also misread Timmons
on its own terms. Later decisions have ruled that ballots themselves can have
speech elements and are subject to Meyer-Buckley scrutiny. Gralike v. Cook, 191 F.3d
911, 917 (8th Cir. 1999); Barker v. Hazeltine, 3 F. Supp. 2d 1088, 1095 (D.S.D. 1998).

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      The application that Plaintiffs distribute includes detailed instructions on

how to apply to vote absentee (e.g., what information is required) in the most

accessible format—the actual application. Ex. 15 at 6 ¶ 17; Id. at 35-39, 40-45.

Personalizing the applications through prefilling is also itself speech. Plaintiffs

obtain voter information, employ it to personalize their applications, and then

distribute them to a selected set of specific voters. These personalized applications

include words chosen by Plaintiffs—specific names from the voter rolls and the

associated addresses—written on a page. Ex. 15 at 5, 6, 8 ¶¶ 15, 18, 22; Id. at 35-39,

40-45. Overall, the personalized mailers represent “the creation and dissemination

of information” for voters to use to vote absentee. Sorrell, 564 U.S. at 570.

      The Restrictions implicate Plaintiffs’ “right to speak” in this manner because

the “information [Plaintiffs] possess[] is subjected to restraints on the way in which

the information might be used.” Id. at 568 (quotations omitted). The Tenth Circuit

in U.S. West v. FCC applied a similar rule to analogous facts. 182 F.3d 1224, 1228-

30 (10th Cir. 1999). Like here, the challenged law limited a speaker’s ability to use

specific recipient information to distribute targeted direct mailers. Id.3 The court

rejected as “fundamentally flawed” an analogous argument to Defendants’ claim

that restricting the ability to “target” the speaker’s message did “not prevent [the


3 The First Amendment broadly protects mailers. Bolger v. Youngs Drug Prod. Corp.,

463 U.S. 60 (1983); Consol. Edison Co. v. Pub. Serv. Comm’n, 447 U.S. 530 532 (1980).

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speaker] from communicating with its customers or limit anything that it might

say to them.” Id. at 1232. Instead, the Tenth Circuit held that the “existence of

alternative channels of communication ... does not eliminate the fact that the

[challenged laws] restrict speech.” Id. The same is true for Plaintiffs’ creation and

dissemination of personalized applications with specific voter information to

target their pro-absentee voting message here. Plaintiffs’ speech warrants even

greater protection than the commercial speech in U.S. West v. FCC because their

communications take a stance in the contested debate at the core of our electoral

process: in what manner voters can and should cast a ballot.

      C.     Plaintiffs’ Distribution Of Communications Containing Absentee
             Ballot Applications Is Protected Expressive Conduct.
      Plaintiffs’ distribution of personalized absentee applications is inherently

expressive conduct. Conduct is expressive when (1) the actor “aimed to convey a

message,” and (2) “a reasonable person would view such conduct as conveying

‘some sort of message.’” In re Georgia Senate Bill 202, No. 1:21-CV-01229-JPB, 2022

WL 3573076, at *10 (N.D. Ga. Aug. 18, 2022) (quoting FLFNB v. Fort Lauderdale, 901

F.3d 1235, 1242 (11th Cir. 2018)). The analysis is “focused on the context,” id.,

examining the “nature of [the] activity, combined with the factual context and

environment,” to determine whether the conduct is “sufficiently imbued with

elements of communication.” Spence v. Washington, 418 U.S. 405, 409-10 (1974).



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      Plaintiffs’ distribution of personalized applications is “intended to be

communicative,” especially viewed “in context.” Clark v. Community for Creative

Non–Violence, 468 U.S. 288, 294 (1984). Defendants do not dispute that Plaintiffs

distribute personalized applications with the goal to persuade and assist voters to

vote absentee. Plaintiffs’ conduct is intended to express to carefully selected voters

that participation in democracy is good, voting absentee is convenient and

beneficial, and the identified voter should use the enclosed and already

personalized form to easily start the process. Ex. 15 at 3-4, 6, 28 ¶¶ 7-10, 17, 63.

      Thus, the only remaining question is whether a reasonable person would

view Plaintiffs’ conduct as conveying “some sort of message.” NetChoice, 34 F.4th

at 1212 (citation omitted). The record shows not only that a reasonable person

would infer a message, but many voters did understand Plaintiffs’ specific message.

Over 663,500 Georgians were spurred to action to submit a VPC/CVI distributed

application in 2020. Ex. 15 at 9 ¶ 25. And many of Defendants’ purported voter

complaints show that the recipients understood Plaintiffs’ message but responded

by voicing their political opposition to absentee voting. Defs. Exs. H at 17, M; Ex.

23 at 71. Even SB 202’s sponsor noted the expressive elements of distributing

applications. Ex. 23 at 87, 101. Defendants do not contradict this evidence or

otherwise show that a reasonable person would not infer some message from this

conduct. At the least, there is a material fact dispute barring summary judgment.

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      Defendants’ contrary legal arguments misapprehend the expressive

conduct test in three ways. First, Defendants rely on Texas v. Johnson, 491 U.S. 397

(1989), to argue that conduct is expressive only if the observers subjectively

understand the actor’s “particularized” message. Br. at 11-12. But six years after

Johnson, the Supreme Court clarified in Hurley that “a narrow, succinctly

articulable message is not a condition of constitutional protection” and protected

conduct is not “confined to expressions conveying a ‘particularized message.’” 515

U.S. at 569 (quoting Spence, 418 U.S. at 411). Thus, the question is “not whether an

observer would necessarily infer a specific message;” it is an objective analysis of

whether a reasonable person would perceive “some sort of message.” NetChoice, 34

F.4th at 1212 (collecting cases).4 Defendants’ speculation that Plaintiffs’ conduct

might be interpreted to “mean a number of things” is beside the point. Br. at 13.

      Second, Defendants ignore the Supreme Court’s repeated instructions to

consider context in assessing whether conduct is expressive. See Spence, 418 U.S. at

410; Clark, 468 U.S. at 294. The context here reinforces that Plaintiffs’ conduct

conveys their message encouraging voters to trust absentee voting and then easily



4 There is broad consensus on this point. Masterpiece Cakeshop, Ltd. v. Colo. Civil Rts.

Comm’n, 138 S. Ct. 1719, 1741 (2018) (Thomas, J., concurring); id. at 1748 n.1
(Ginsburg, J., dissenting); Cressman v. Thompson, 798 F.3d 938, 955 (10th Cir. 2015);
Troster v. Pa. State Dep’t of Corr., 65 F.3d 1086, 1090 n.1 (3d Cir. 1995); AARA v. Clean
Elections USA, No. 22-cv-01823, 2022 WL 15678694, at *4 (D. Ariz. Oct. 28, 2022).

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participate in the electoral process using that method. VPC/CVI distribute their

applications at key moments during the election season—when debates over the

merits of absentee voting are most salient. Lopach Tr. 146:2-11. Such activity

represents “advocacy of a politically controversial viewpoint” that is “the essence

of First Amendment expression.” McIntyre, 514 U.S. at 347.

      On this point, Defendants also stretch Rumsfeld beyond its scope. Br. at 11-

12. The holding in Rumsfeld is that the First Amendment does not protect conduct

if it is “expressive only because the [actors] accompanied their conduct with speech

explaining it.” 547 U.S. at 66 (emphasis added). Rumsfeld hinged on the fact that

the school’s conduct toward military recruiting—absent explicit explanation—

would not be interpreted as expressive. But the mere presence of accompanying

speech does not make conduct non-expressive; instead, Rumsfeld reaffirmed the

Hurley decision, in which the Court determined that a parade was expressive

conduct in part because the context also included speech from participants

“carrying placards,” “singing,” and “carrying ... banners.” 515 U.S. at 568-69.5


5 The facts here align more with Hurley than Rumsfeld because Plaintiffs’
distributed communications are not “expressive only because” of their cover letter.
Cf. Rumsfeld, 547 U.S. at 66 (emphasis added). The key fact in Rumsfeld was that an
observer of where military recruiting occurred could infer no message at all on
behalf of the law school; they were more likely to assume that “interview rooms
are full, or the military recruiters decided for reasons of their own [to] interview
someplace else.” Id. But here, a voter receiving only a personalized absentee


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      Third, Defendants resort to cases about restrictions on third-party collection

and delivery of completed voting materials, without explaining why this is “similar

activity” to the persuasion and distribution conduct here. Br. at 11-12. None of their

citations support that distributing applications is unprotected conduct; rather,

several directly distinguish distribution activity from collection activity, finding

the former protected but the latter not. Democracy N.C. v. N.C. State Bd. of Elections,

476 F. Supp. 3d 158, 224 (M.D.N.C. 2020); Voting for Am., Inc. v. Steen, 732 F.3d 382,

389-90 (5th Cir. 2013) (“accept[ing]” that “some voter registration activities involve

speech—‘urging’ citizens to register; ‘distributing’ voter registration forms; [and]

‘helping’ voters to fill out their forms”). This is because “[s]oliciting, urging and

persuading the citizen to vote [is] the canvasser’s speech[.]” Steen, 732 F.3d at 390.

      Meanwhile, courts have repeatedly held that distribution of voter materials

and other forms of voter education and assistance is expressive conduct.6


application from a civic organization during the election season would at least
infer “some sort of message” concerning engagement in the electoral process,
NetChoice, 34 F.4th at 1212, even if it is only that the mailed application is meant to
be “a convenience” for voting “in light of the pandemic.” ECF 131 at 25. Plaintiffs
need not alter their activity and send only an application in order to show that the
conduct is objectively expressive. Cf. Br. at 13. Like the context in Hurley, Plaintiffs’
cover letter and other materials only reinforce the expressive nature of distributing
applications. See Ex. 15 at 6, ¶ 17, 36-45; Ex. 16; Ex. 3 at 44:11-18, 45:4-11.
6 The cases involve a range of voting advocacy. LWV of Tenn. v. Hargett, 400 F.

Supp. 3d 706 (M.D. Tenn. 2019); VoteAmerica v. Schwab, 576 F. Supp. 3d 862 (D.
Kan. 2021); Dem. N.C., 476 F. Supp. 3d at 224; LWV of Fla. v. Cobb, 447 F. Supp. 2d


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Defendants make no attempt to distinguish this precedent or explain why all these

courts are wrong. In sum, Plaintiffs’ distribution of personalized absentee

applications is inherently expressive conduct.

      D.     Distributing Absentee Ballot Applications Is Characteristically
             Intertwined With Conveying Plaintiffs’ Message.
      Distributing personalized absentee applications is “characteristically

intertwined” with expressing Plaintiffs’ message. Schaumburg, 444 U.S. at 632.

Defendants’ attempt to disaggregate Plaintiffs’ mailer into its component parts

fails on the law and the facts. Legally, Defendants’ “efforts to characteriz[e]”

Plaintiffs’ protected “speech as [unprotected] conduct is a dubious constitutional

enterprise.” Wollschlaeger v. Governor, Fla., 848 F.3d 1293, 1309 (11th Cir. 2017) (en

banc). It also improperly engages in the “slicing and dicing” of speech that

numerous other courts have rejected. LWV of Tenn., 400 F. Supp. 3d at 720; accord

VoteAmerica, 576 F. Supp. 3d at 874-75. Precedent instead instructs courts to

“refuse[] to separate the component parts of” speech “from the fully protected

whole.” Riley v. Nat’l Fed’n of the Blind of N.C., 487 U.S. 781, 796 (1988). Courts

“cannot parcel out the speech, applying one test to one phrase and another test to

another” because “[s]uch an endeavor [is] both artificial and impractical.” Id.



1314 (S.D. Fla. 2006); AAPD v. Herrera, 690 F. Supp. 2d 1183 (D.N.M. 2010); LWV of
Mo. v. Missouri, 20AC-CC04333, at 22-30 (Cole Cty. Cir. Ct. Oct. 24, 2022) (Ex. 29);
Coley v. Martin, No. 5:20-cv-151, 2021 WL 4782272, at *3 (S.D. Ga. Oct. 13, 2021).

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      Under the facts here, the First Amendment instead requires “due regard for

the reality that” Plaintiffs’ personalized application “is characteristically

intertwined with informative and ... persuasive speech” in their mailer packages,

and that without the ability to distribute the personalized application, “the flow of

such information and advocacy would likely cease.” Id. (applying, e.g.,

Schaumburg, 444 U.S., at 632; Meyer, 486 U.S. at 422 n.5). The entire point of

Plaintiffs’ mailer is to convince a selected voter that engaging in the electoral

process through absentee voting is trustworthy and easy, using a calculated

message and personalized resources to assist and persuade them. Ex. 15 at 3-4, 6,

9, 28 ¶¶ 7-10, 12, 17, 24, 63; Id. at 35-39, 40-45; Ex. A; Ex. 13 at 38. In 2020, for

example, Plaintiffs tested messaging about the personalization of mailers to “call

attention to the fact that the voter was explicitly chosen to receive the application.”

Ex. 13 at 7. They personalized the applications to “provide[] an exclusive voter

experience” and express that the particular voter receiving the mailer should vote

absentee. Ex. 13 at 7; Ex. 15 at 5, 8, 26-30 ¶ 15, 22, 60-66; 6/9/2022 PI Tr. 46:8-20.7

      Plaintiffs cannot convey their message through their cover letters alone that

say, for example, “I have sent you the enclosed absentee ballot application to make

requesting a ballot easy,” without also including an application. Ex. 15 at 37; see


7 This targeted personalization further reinforces the expressive nature. Daniel

Rauch, Customized Speech and the First Amendment, 35 Harv. J.L. & Tech. 405 (2022).

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also id. at 38, 42. Intervenors’ mailers similarly intertwined their communications

with the enclosed application. Ex. 13 at 14-65 (mailers stating, e.g., “President

Trump wants you to return this form!”). And as Defendants’ own witness stated,

the parts of a mailer are integrated as a single unit that together convey “the intent

of the message the [sender] is trying to deliver.” Waters Tr. 34:15-35:9; 44:7-45:11.

      Thus, the mailer package expresses Plaintiffs’ desired message that the voter

should easily vote absentee by submitting the attached personalized application;

that cannot be expressed without the application. The testimony from both

Plaintiffs and Defendants’ witness Brandon Waters (whose business also

distributes applications) that the mailers as a package constitute their speech at

least raises a material fact dispute of whether the communications are intertwined.

Defendants’ contrary argument offers sparse consultation of the record, elides the

law on integrated communications, and relies on their own unsupported

conclusions about the nature of Plaintiffs’ speech. Br. at 10-14. This is insufficient

for summary judgment. J-B Weld, 978 F.3d at 794; Edmondson, 43 F.4th at 1160.

      At bottom, Defendants’ argument is that the State can dictate Plaintiffs’

speech here, insisting that civic organizations should speak about absentee voting

through a communication that lacks the relevant materials. Br. at 13. While this

Court preliminarily found it relevant that Plaintiffs could still send pro-absentee

voting cover letters, the Supreme Court has “consistently refused to overlook an

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unconstitutional restriction upon some First Amendment activity simply because

it leaves other ... activity unimpaired.” Cal. Democratic Party v. Jones, 530 U.S. 567,

581 (2000); accord Spence, 418 U.S. at 411 n.4. If Defendants’ view of the law were

reality, then Meyer would have come out differently: the inability to pay petition

circulators would pose no constitutional problem because speakers could simply

promote the petition without circulating it. Cf. 486 U.S. at 419.8 The Meyer Court

instead concluded that a speaker’s ability “to employ other means to disseminate

their ideas” does not take their speech “outside the bounds of First Amendment

protection.” Id. at 424. Thus, the fact that Plaintiffs could speak in a different way

that the State prefers cannot negate the constitutional protections of Plaintiffs’

integrated communications distributing personalized applications.

      E.     Distributing Personalized Absentee Ballot Applications Is
             Protected Associational Activity.
      Finally, the Restrictions implicate Plaintiffs’ associational activity. Courts

“give deference to an association’s view of what would impair its expression.” Boy

Scouts of Am. v. Dale, 530 U.S. 640, 653 (2000). Restrictions on distributing absentee

or registration applications “bear[] directly on the expressive and associational

aspects” at the core of get-out-the-vote work. LWV of Tenn., 400 F. Supp. 3d at 720.




8 Colorado pursued precisely this argument. See Oral Argument Transcript at 19-

21, Meyer v. Grant, Case No. 87-920 (U.S. Apr. 25, 1988), perma.cc/T6VL-AATM.

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This is because “[a]n organization’s attempt to broaden the base of public

participation in and support for its activities is conduct undeniably central to the

exercise of the right of association.” VoteAmerica, 576 F. Supp. 3d at 875.

      As the record shows, VPC/CVI use their effective personalized absentee

application   communications      to   build   greater   association   with   partner

organizations and a specific group of voters with whom Plaintiffs further engage

in the political process via future mailers. Ex. 15 at 13-14 ¶¶ 35-39; Lopach. Tr.

147:20-148:20. Among the reasons Plaintiffs personalize their applications, track

responses to their mailers, and provide robust unsubscribe opportunities is to

ensure that their follow-up get-out-the-vote messages target supportive associates.

Ex. 15 at 13-14 ¶¶ 35-39. These circumstances are far from Dallas v. Stanglin, where

the plaintiffs were merely “patrons of the same business establishment” that

admitted anyone “willing to pay the admission fee,” who expressed no shared

views, and who had no articulated associational outreach. 490 U.S. 19, 24-25 (1989).

      First Amendment protection of associational interests is not predicated on

whether there is a “preexisting relationship,” as Defendants insist.9 Br. at 26. In



9 Regardless, Plaintiffs also use their distribution activity to associate with other

civic organizations who share their goals of expanding the electorate by, for
example, assisting them with encouraging and assisting prospective voters and
sharing data about Plaintiffs’ successful voter engagement programs. Ex. 15 at 14
¶ 37-39; Lopach. Tr. 147:20-148:20, 147:20-148:20; 6/9/22 PI Tr. 47:15-23; P-0114.

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NAACP v. Button, the plaintiff’s efforts to solicit then-unassociated individuals to

participate in litigation was protected as the means to begin an association. 371 U.S.

415, 429-23, 437 (1963). Similarly, in Healy v. James, the Court protected a student

group’s activity seeking the “use of campus bulletin boards and the school

newspaper” to reach “new students” and create further associations to “remain a

viable entity in a campus community.” 408 U.S. 169, 181 (1972). Plaintiffs’ activity

reaching new associates here is no different and Defendants’ cramped reading of

associational rights goes against binding precedent. Regardless, their alternative

view of the facts concerning Plaintiffs’ associations presents a material dispute.

II.   The Ballot Application Restrictions Seriously Infringe Plaintiffs’ First
      Amendment Rights And Are Subject to Strict Scrutiny.
      The record further supports that the Ballot Application Restrictions are

subject to strict scrutiny, and material fact disputes bar summary judgment. As

discussed above, the Restrictions directly regulate and impinge on speech,

expressive conduct, and association, and therefore are subject to heightened

scrutiny. The Disclaimer Provision is subject to strict scrutiny because it compels

Plaintiffs to convey the government’s message, not merely to disclose something

about themselves. Likewise, the Prefilling Prohibition and Mailing List Restriction

are subject to strict scrutiny because they abridge Plaintiffs’ core political speech

by reducing the overall quantum of speech and violating their “right not only to



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advocate their cause but also to select what they believe to be the most effective

means for so doing.” Meyer, 486 U.S. at 424. They are also content- and viewpoint-

discrimination. And even if Anderson-Burdick applies, that inquiry is highly fact-

intensive and there remain material fact disputes about the degree of the burden

on Plaintiffs’ rights as weighed against the purported state interests.

      A.     The Disclaimer Provision Is Subject To Strict Scrutiny.
      The Disclaimer unlawfully compels speech. The “fundamental rule of

protection under the First Amendment” is “a speaker has the autonomy to choose

the content of his own message.” Hurley, 515 U.S. at 573. When the State “compel[s]

speakers to utter or distribute speech bearing a particular message,” as the

Disclaimer does here, “such a policy imposes a content-based burden on speech

and is subject to strict-scrutiny review.” McClendon v. Long, 22 F.4th 1330, 1337

(11th Cir. 2022) (citing Turner Broad. Sys., Inc. v. FCC, 512 U.S. 622, 641-42 (1994));

accord NIFLA, 138 S. Ct. at 2371, 2374-75 (applying similar rule).

      The Disclaimer Provision requires Plaintiffs to “prominently” stamp a

lengthy disclaimer, see supra Background, on any distributed application. O.C.G.A.

§ 21-2-381(a)(1)(C)(ii).10 Failure to include this Disclaimer may result in criminal



10 The Disclaimer is an extreme outlier. Only Kansas has an analogous law, but it

is a more traditional disclosure requiring the sender’s identity and a statement that
“This is not a government mailing. It is from a private individual or organization.”
K.R.S. 25-1122(k). No other State compels speakers like the Disclaimer does here.

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penalties. Id. §§ 21-2-598, 21-2-603, 21-2-599. Plaintiffs do not challenge the portion

of the Disclaimer that requires Plaintiffs to disclose themselves (and not the

government) as the sender. See, e.g., Centro Tepeyac v. Montgomery County, 722 F.3d

184 (4th Cir. 2013) (affirming injunction of part, but not all, of a disclosure

requirement); Baptiste v. Kennealy, 490 F. Supp. 3d 353, 406 (D. Mass. 2020)

(similar). But the remainder of the Disclaimer—and in particular the assertion that

“This is NOT an official governmental publication”—goes far beyond requiring

disclosure of Plaintiffs’ information.11 Like in McClendon and NIFLA, the Disclaimer

“alter[s] the content of the plaintiffs’ speech and force[s] them to convey a message

that they would not otherwise communicate.” ECF 131 at 29. It amounts to a

government script that compels Plaintiffs to convey a misleading message that is

“antithetical to its mission,” id., of persuading voters that their personalized

application communications are legitimate, trustworthy, and can be easily used to

apply to vote absentee. Ex. 15 at 3-4, 6, 9 ¶¶ 7-10, 12, 17, 24.

      The First Amendment prohibits such compelled speech. It does not matter

whether the language of the disclaimer is technically accurate. See NIFLA, 138 S.



11 Therefore, the standard applied in Citizens United v. FEC and other campaign

finance disclosure cases does not apply. In Citizens United, the challenged
provisions were solely aimed at ensuring speakers identified who was responsible
for the disclaimer. 558 U.S. 310, 366 (2010). The Disclaimer here goes much further
and is more akin to the compelled speech in cases like NIFLA v. Becerra.

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Ct. at 2372. 12 It is also irrelevant that Plaintiffs can convey their own message

alongside the Disclaimer, cf. Br. at 20-21, because “the harm here is the forced

display of a government message … not the forced appearance of endorsement of

that message,” McClendon, 22 F.4th at 1337 (quotations omitted).13 And it does not

matter if the State designed the script with the benign goal of “reduc[ing] voter

confusion,” ECF 131 at 32. If the government wishes to speak, it can do so itself,

but it cannot force Plaintiffs to convey its message. See, e.g., LWV of Tenn., 400 F.

Supp. 3d at 730 (applying McIntyre, 514 U.S. at 348; Riley, 487 U.S. at 800).

      B.     Strict Scrutiny Is Required Because The Ballot Application
             Restrictions Limit Core Political Speech.
      The Restrictions are subject to strict scrutiny because they abridge Plaintiffs’

core political speech. As detailed supra Part I, Plaintiffs’ communications

constitute speech that “involves both the expression of a desire for [an engaged

electorate] and a discussion of the merits of [absentee voting].” Meyer, 486 U.S. at




12 Putting aside any creative argument about the definition of “publication,” the

compelled language undeniably contains the confusing and misleading message
that a document that is created by the Secretary, bears the official seal, is titled
“Application for Georgia Official Absentee Ballot,” and that will be processed by
election officials is somehow not a government publication. This Court has already
recognized the likelihood of confusion here. ECF 131 at 42. And Mr. Germany
stated that he supported deleting the misleading text. 6/10/2022 PI Tr. 95:1-20.
13 Plaintiffs need not show evidence of ”significant harm,” cf. ECF 131 at 43,

because the Disclaimer imposes a per se harm by requiring Plaintiffs to convey a
message to which they strenuously object. Harriet Tubman, 576 F. Supp. 3d at 999.

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421. The Meyer-Buckley framework, which is “not limited to the circulation of

initiative petitions,” applies. LWV of Tenn., 400 F. Supp. 3d at 723-24. “If

anything[,]” Plaintiffs’ advocacy is even closer to the center of core political speech

because “a person’s decision to sign up to vote is more central to shared political

life,” id., and it inherently “implicates political thought and expression,” Buckley,

525 U.S. at 195; Coley, 2021 WL 4782272, at *3 (applying Meyer to voter assistance).

      Defendants’ attempts to distinguish Meyer overlook how the factual and

legal circumstances apply here. The Meyer plaintiffs were proponents of an

initiative on “whether the trucking industry should be deregulated” who wished

to use paid petition circulators. 486 U.S. at 421. The Supreme Court held that the

ban on paid circulators was unconstitutional because restricting how proponents

chose to convey their message—using paid circulators to promote the petition and

collect signatures—“reduc[ed] the total quantum of speech” and violated their

“right not only to advocate their cause but also to select what they believe to be

the most effective means for so doing.” Id. at 423-24. The question before the Meyer

Court was not whether paying circulators or collecting signatures was itself

speech, but whether barring a speaker’s most effective means of delivering their

message violated the First Amendment. Id. The Court held that it did. Id.

      The Restrictions here even more directly strain Plaintiffs’ conveyance of

their desired message than in Meyer because Plaintiffs cannot distribute their

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personalized applications at all. A more apt comparison would be if the law in

Meyer allowed initiative advocates to knock doors to promote their cause but

barred them from circulating the actual petition. Such an analogous law would be

unconstitutional, and here, Plaintiffs’ advocacy concerning the fundamental right

to vote warrants at least as much protection as speech about “whether the trucking

industry should be deregulated.” Id. at 421.

      Like in Meyer, the Restrictions infringe Plaintiffs’ core political speech in two

ways. First, they “reduc[e] the total quantum of speech,” id. at 423, by “drastically

limit[ing] the number of voices advocating for the politically controversial topic of

voting by mail, limit[ing] the audience which proponents can reach and mak[ing]

it less likely that proponents will gather the necessary support,” VoteAmerica, 576

F. Supp. 3d at 889. The Restrictions bar or encumber Plaintiffs’ communications by

limiting to whom Plaintiffs can speak, how often, in what manner, and only by

also speaking the State’s message. Ex. 9 at 63:2-6, 70:20-25; 209:20-214:22, 232:24-

236:1, 271:17-24, 278:13-280:22; Ex. 15 at 13 ¶ 34; Ex. 26 at 14-16; Ex. 24 at 9-11; Ex.

27 90:13-91:1, 165:18-166:17. This “will have the inevitable effect of reducing the

total quantum of speech on” absentee voting. VoteAmerica, 576 F. Supp. 3d at 889.

      Second, the Restrictions limit Plaintiffs’ protected right to “advocate their

cause” through “what they believe to be the most effective means for so doing.”

Meyer, 486 U.S. at 424. Based on their experience designing and operating voter

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mobilization programs nationwide, Plaintiffs have determined that sending

multiple waves of personalized absentee ballot applications is the most efficient

method of reaching and persuading their target audience, Lopach Tr. 113:7-13;

146:22-147:7, and that a mailer package comprised of a cover letter, prefilled

application, and postage-paid return envelope together is the most effective way

to express their message, id. 60:8-17; 79:22-80:6; 6/9/2022 PI Tr. 42:14-43:2.14

      Finally, protections for core political are not conditioned on whether

Plaintiffs’ speech is interactive or if someone speaks back. Such an incorrect “face-

to-face interaction” rule would be directly contrary to McIntyre, in which the

Supreme Court applied core political speech protections to anonymous leafletting.

See 514 U.S. at 337-39, 344-48; see also supra n.3 (listing cases applying broad speech

protections to direct mailers). Regardless, Plaintiffs’ activity is analogous to both

Meyer and McIntyre. Like in Meyer, Plaintiffs directly contact voters to solicit and

encourage their participation in the political process, and like in McIntyre,


14 While the Meyer “most effective means” analysis is subjective, Plaintiffs’ belief

is objectively justified. It is supported in randomized control tests that examine
response rates among targeted populations. Id. at 66:14-67:6; 67:12-14. Dr. Green
explained that voters are more likely to use prefilled forms and they are “also more
convenient for election officials … than forms completed by hand.” Ex. 24 at 8-9.
Defendants admit that a study Dr. Green cites shows data that “prefilled …
application[s] resulted in 25% more requests for absentee ballots than the blank
forms[.]”ECF 150-1 at 19 n.5. And the State itself attests to the benefits of prefilling
because they distributed such applications during the 2020 election. 6/10/22 PI
Tr. 63:14-21; Ex. 18 at GA-VA00061955, GA-VA00061911, GA-VA00048570.

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Plaintiffs’ mailers reach voters apart from face-to-face interaction. Wherever it falls

between Meyer and McIntyre, Plaintiffs’ activity is core political speech.15

      C.     Strict Scrutiny Is Required Because The Ballot Application
             Restrictions Are Content- And Viewpoint-Based.
      The Ballot Application Restrictions are content- and viewpoint-based limits

on speech and subject to strict scrutiny. A law is “content based if [it] applies to

particular speech because of the topic discussed,” Reed v. Town of Gilbert, 576 U.S.

155, 163 (2015), or when it defines the “category of covered documents … by their

content,” McIntyre, 514 U.S. at 345; see also Buckley, 525 U.S. at 209 (Thomas, J.,

concurring). The Restrictions are content-based for both reasons.

      First, they dictate the content that Plaintiffs are both required to and

prohibited from including in their messages. This “inhibits communication with

voters about proposed political change and eliminates voting advocacy by

plaintiffs ... based on the content of their message.” VoteAmerica, 576 F. Supp. 3d

at 888. Like SB 202’s linewarming ban, the Restrictions are “premised on the




15 Along similar lines, Mazo v. New Jersey Secretary of State also does not support

Defendants. The Mazo Court held that regulation of candidates’ slogans on a ballot
burdened speech before reaching the non-novel conclusion that a state regulating
what is printed on its ballots—exchanged only between the State and the voter—
relates to the mechanics of the electoral process and thus subject to Anderson-
Burdick review. No. 21-2630, 2022 WL 17172673, at *11 (3d Cir. Nov. 23, 2022). The
Restrictions here, however, are “aim[ed] at regulating political speech” among
private parties and are subject to “traditional First Amendment analysis.” Id. at *8.

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message a speaker conveys[;]” they hinge explicitly on the content of their

communications. In re SB 202, 2022 WL 3573076, at *13-14. The State’s asserted

justification for these provisions—avoiding voter confusion allegedly caused by

Plaintiffs’ communications—is “based on the potential direct and emotive impact”

of those communications, indicating that they are content-based. Id.

      Second, the scope of the Restrictions’ regulation is defined by the category

of covered documents, applying only to mailers that include applications and only

those that are prefilled. In this manner, the Restrictions are content based similar

to the speech limitations at issue in McIntyre. See 514 U.S. at 345.

      The Restrictions are also viewpoint-based, which is “an egregious form of

content discrimination.” Otto v. City of Boca Raton, 981 F.3d 854, 864 (11th Cir. 2020)

(quotations omitted). The Restrictions apply solely to views advocating absentee

voting because only those communications would include an application and one

that is personalized; they impose no limits on mailers against absentee voting

because that contrary message would not include any prefilled application. Such

a law that “specifically applies a burden to the speech of those who ‘solicit’ others

to” vote absentee, “but not those who solicit them not to do so” is unconstitutional

viewpoint discrimination. SD Voice v. Noem, 432 F. Supp. 3d 991, 996 (D.S.D. 2020).

      These content- and viewpoint-based restrictions are subject to strict scrutiny

and presumptively unconstitutional. Reed, 576 U.S. at 163-64.

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      D.     The Restrictions Abridge Plaintiffs’ Associational Activity.
      The Restrictions are subject to strict scrutiny because they abridge Plaintiffs’

associational rights. “[P]olitical belief and association constitute the core of those

activities protected by the First Amendment.” Elrod v. Burns, 427 U.S. 347,

356 (1976). This “freedom of association encompasses not only the right to

associate with others but also the right to choose how one associates with others.”

VoteAmerica, 576 F. Supp. 3d at 875 (citing Dale, 530 U.S. at 653). And Plaintiffs’

associational rights are “protected not only against heavy-handed frontal attack,

but also from being stifled by more subtle governmental interference” on their

“means of communicating” to further their associations. Healy, 408 U.S. at 181-83.

      The Restrictions limit Plaintiffs’ associational rights because they “involve[]

the direct regulation of communication and political association, among private

parties, advocat[ing] for a particular change.” LWV of Tenn., 400 F. Supp. 3d at 725

(quotation omitted). The abridgment of Plaintiffs’ associational activities is

analogous to the solicitation ban ruled unconstitutional in NAACP v. Button, which

criminalized the solicitation of plaintiffs in segregation litigation. 371 U.S. at 421,

434. The ban violated First Amendment rights because it prevented the NAACP

from associating to persuade others to action, which burdened their efforts to

bring litigation as their chosen means for affecting change. See id. at 429–31, 437.




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      Similarly here, Plaintiffs’ activities are their chosen means for associating

with voters and organizations to prompt action for a common goal: greater trust

in and use of absentee voting. Supra Section I.E. But, as in Button, the Restrictions

abridge Plaintiffs’ ability “to engage in association for the advancement of beliefs

and ideas” by restricting Plaintiffs’ communications, which are used to “persuade

[their audience] to action” to vote absentee. 371 U.S. at 430, 437. Strict scrutiny

applies to such abridgment. Id. at 438; Kusper v. Pontikes, 414 U.S. 51, 58-59 (1973).

      E.     The Anderson-Burdick Framework Is Improper Here But
             Nonetheless Requires Heightened Scrutiny.
      The Anderson-Burdick test applies to constitutional challenges “on the basis

that the scheme violates the prohibition against undue burdens on the right to vote.”

Democratic Exec. Comm. of Fla. v. Lee, 915 F.3d 1312, 1318 (11th Cir. 2019) (emphasis

added). The test does not apply to all election cases. Id. at 1318-19 & n.9. Here, it is

“inapplicable [because] the election statute directly regulates core political speech

and does not merely ‘control the mechanics of the electoral process.’” In re SB 202,

2022 WL 3573076, at *9 (quoting McIntyre, 514 U.S. at 345). In such cases, courts

“employ whatever level of scrutiny corresponds to the category of speech.” Id.

      But even if Anderson-Burdick were the appropriate analytical lens,

heightened scrutiny still applies because the Restrictions severely burden

Plaintiffs’ speech. Burdens on core political speech are per se severe. Buckley, 525



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U.S. at 207 (Thomas, J., concurring); see also LWV of Tenn., 400 F. Supp. 3d at 725

n.9 (observing in similar circumstances that Anderson-Burdick “is just another road

to strict scrutiny”); VoteAmerica, 576 F. Supp. 3d at 887-88 (similar). And “a law

severely burdens” rights under Anderson-Burdick “if it discriminates based on

content instead of neutral factors.” Harriet Tubman, 576 F. Supp. 3d at 1003 (quoting

Citizens for Legis. Choice v. Miller, 144 F.3d 916, 921 (6th Cir. 1998)).

      The record shows remaining material disputes of facts concerning the

cumulative burden of the Restrictions on Plaintiffs’ rights. See Clingman v. Beaver,

544 U.S. 581, 607 (2005) (O’Connor, J., concurring) (emphasizing “the combined

effect” of “a panoply of regulations” under Anderson-Burdick). The severe burdens

on Plaintiffs compared to the sparse record supporting the State’s interests makes

summary judgment particularly improper here. See, e.g., Wood v. Meadows, 117 F.3d

770, 776 (4th Cir. 1997) (reversing summary judgment to allow further record

development for the “fact-specific [Anderson-Burdick] inquiry [to] be undertaken”).

      Plaintiffs significantly reduced their communications in Georgia in 2022—

sending only one wave of mailers to a much smaller number of voters—as a direct

result of the adverse effects of the Restrictions on their programs. Compare Ex. 21

at P-0360, P-0363, with Ex. 11 at 4. Even though Defendants disagree, the Prefilling

Prohibition eliminates Plaintiffs’ most effective method of furthering their speech

and association. The Disclaimer Provision forces Plaintiffs to recite a government

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script they object to because it makes their communications appear illegitimate

and less trustworthy. Ex. 13 at 59-61. This undermines the persuasiveness of their

message and ability to effectively convey it, despite Defendants’ contrary view.

Ex. 15 at 30-32. And the Mailing List Restriction limits the amount of

communication Plaintiffs can have with Georgia voters and risks crippling

penalties. 6/9/22 PI Tr. 63:2-6; Ex. 15 at 22-25. Defendants’ disagreement on these

points only further shows fact disputes that make summary judgment improper.

III.   The Ballot Application Restrictions Fail First Amendment Scrutiny.
       The Restrictions fail First Amendment scrutiny. Speech restrictions face a

“demanding standard,” requiring clear evidence rather than “ambiguous proof”

that the restrictions are narrowly tailored to serve a compelling state interest. Otto,

981 F.3d at 868. Here, restrictions on core political speech receive Meyer-Buckley

scrutiny that “is well-nigh insurmountable,” Meyer, 486 U.S. at 425; content-based

laws “are presumptively unconstitutional,” Reed, 576 U.S. at 163; and compelled

speech must serve a “compelling necessity … only by means precisely tailored,”

Riley, 487 U.S. at 800. Even under Anderson-Burdick, “[a] law that severely burdens

the right to vote must be narrowly drawn to serve a compelling state interest” and

less severe burdens must still be “justified by legitimate state interests of sufficient

weight.” Lee, 915 F.3d at 1318 (finding burden outweighed the asserted interests);

LWV of Fla. v. Detzner, 314 F. Supp. 3d 1205, 1216 (N.D. Fla. 2018) (similar).


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      Under any applicable standard, Defendants bear the burden of

demonstrating that the Restrictions are sufficiently tailored to further legitimate

state interests that outweigh the burdens on Plaintiffs’ constitutional rights.16

Defendants fail to meet this burden, and in attempting to do so, only deepen the

existence of material disputes of fact that preclude summary judgment.

      A.     Defendants Do Not Demonstrate Any Compelling State Interest.
       To be compelling, the State’s interest must have both “legitimacy” in the

abstract and “presence” in the specific case. Citizens for Police Accountability Pol.

Comm. V. Browning, 572 F.3d 1213, 1219 (11th Cir. 2009). The State must “do more

than simply posit the existence of” an interest. Turner, 512 U.S. at 664. Through

evidence, Defendants must prove the absence of fact disputes showing “that the

recited harms are real, not merely conjectural, and that the regulation will in fact

alleviate these harms in a direct and material way.” Id. They fail to do so here.

      Defendants argue the Restrictions reduce voter confusion. Br. at 15. But a

State’s claim that it is “enhancing the ability of its citizenry to make wise decisions

by restricting the flow of information … must be viewed with some skepticism.”

Eu v. San Francisco Cty. Democratic Cent. Comm., 489 U.S. 214, 228 (1989). Courts



16 Even if the Disclaimer is scrutinized under the test for campaign finance
disclosures, there must still be a “substantial relation between the disclosure
requirement and a sufficiently important governmental interest.” Worley v. Fla.
Sec’y of State, 717 F.3d 1238, 1242-43 (11th Cir. 2013).

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should instead “assume that the people are smart enough to get the information

they need than to assume that the government is wise or impartial enough to make

the judgment for them.” Riley, 487 U.S. at 804 (Scalia, J., concurring).

       Whether the Restrictions address purported confusion is a disputed fact that

must be resolved at trial. Defendants offer scant evidence of actual confusion,

relying exclusively on a collection of 54 “tips” to the State’s fraud tip line and

generic, secondhand testimony. Br. 15-16, 18-19, 22-23.17 But there is almost no

connection to actual issues from the distribution of personalized applications.

Most of these ”tips“ are little more than a voter alerting the State that they received

applications, only some of which are personalized. Defs. Ex. H at 17, 19. At least

thirty-three of the tips clearly identify the third-party or county office that sent the

application. Defs. Exs. G at 2-6, 8, 17-22, 25-33; H at 4, 16, 20, 22-30; M at 2-4. Only

about twenty tips reference purportedly incorrect voter information or addresses.

Defs. Exs. G at 2-8, 11, 15, 17, 19, 21, 22, 26, 29, 30, 32; H at 13, 16, 25, 28. Seven tips

are from former Georgia voters who report receiving applications despite having

moved out of state. Defs. Exs. G at 18, 20, 23; H at 7, 25, 29, 30. One tip concerns

receipt of applications from a county election office, not a third party, and at least

two do not concern absentee applications at all. Defs Exs. G at 9-11, 18; M at 2.


17 As further explained in Plaintiffs’ responses to Defendants’ Statement of Facts,

the asserted voter complaints are hearsay and cannot support summary judgment.

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      In total, almost all of the tips demonstrate annoyance or dislike of the

communications rather than confusion. Defs. Ex. G at 3, 15, 17, 18, 20-28; H at 11-

14, 16-24, 27-29. But the First Amendment does not permit the State to enact speech

restrictions because of annoyance. See Martin v. City of Struthers, Ohio, 319 U.S. 141,

143 (1943). If Plaintiffs’ mailer recipients find the content “objectionable,” they may

“escape exposure … simply by transferring the [mailer] from envelope to

wastebasket.” Consol. Edison, 447 U.S. at 542; accord Bolger, 463 U.S. at 72.

      With regard to fraud concerns, Defendants do not argue that Plaintiffs’

activity endangered election integrity or that the Restrictions prevent fraud. And

despite their conclusory arguments, “it does not follow like the night the day” that

the Restrictions do anything about voters’ concerns about fraud. Buckley, 525 U.S.

at 204 n.23. Rather, to justify the Restrictions based on fraud, the State must “satisfy

its burden of demonstrating that fraud is real, rather than a conjectural, problem.”

Id. at 210 (Thomas, J., concurring). The record indicates that Georgia elections are

not afflicted by fraud at all, much less related to civic organizations’ absentee

application mailers. See, e.g., Ex. 5, Dep. of Frances Watson (“Watson Tr.”) 189:23-

190:4, 191:3-13; Ex. 2, Dep. of Blake Evans (“Evans Tr.”) 142:3-9; 145:17-19.

      Defendants also assert that the Prefilling Prohibition and the Mailing List

Restriction serves efficient election administration. Br. at 15, 18-19. But Defendants

fail to show how that interest is actually implicated. While efficient election

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administration is compelling in the abstract, “the First Amendment does not

permit the State to sacrifice speech for efficiency.” Riley, 487 U.S. at 795; accord

Buckley, 525 U.S. at 192 (rejecting administrative convenience rationale). Here,

Defendants provide little evidence that election administration was hindered by

third parties’ distribution of absentee applications. Defendants claim the record

shows that receipt of successive personalized applications “caused voters to

submit multiple applications,” but Mr. Germany’s cited testimony makes no

mention of voters submitting duplicative applications. Cf. Br. at 19.

      While Defendants previously put forward some basic evidence of increased

duplicates in 2020, see Germany Decl. ¶ 31, they have provided no evidence linking

those duplicates to third-party distribution. Moreover, the duplicate increase is

largely symmetrical to the overall increase in absentee voting in 2020, see 6/10/22

PI Tr. 30:17-21, 50:23-24, 53:21-22, 54:3-4, and could just as easily be explained by

unique aspects of the 2020 election, such as first-time absentee voters’ lack of

knowledge, issues related to the COVID-19 pandemic, and delays in delivering

and processing applications, see id. Even if some record evidence did show this,

however, Defendants witness Mr. Evans testified that duplicate applications are

“not too terribly uncommon” and the process for dealing with them is “not that

long.” Evans Tr. 71:18-72:2, 85:18-86:5. And other evidence demonstrates that far

from impeding election administration, Plaintiffs’ personalization of applications

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can actually ease their processing. See id. 158:9-22 (noting that applications with

typed voter information, like Plaintiffs’ personalized applications, are “generally

easier” for election officials who no longer need to “interpret or read

handwriting”); Lopach Decl., Ex. E; Ex. 18 at GA-VA00024557, GA-VA00051968,

GA-VA00038670; Ex. 1-4 (noting benefits of typefaced applications for processing).

      B.     The Ballot Application Restrictions Are Not Narrowly Tailored.
      Defendants also fail to establish narrowly tailoring. Overall, the State must

“afford the requisite breathing space to protected speech.” Weaver v. Bonner, 309

F.3d 1312, 1319 (11th Cir. 2002) (quotations omitted). Courts “cannot cavalierly

accept without proof that the means being used achieve the legitimate ends being

sought;” the State must “establish a nexus.” Zeller v. Fla. Bar, 909 F. Supp. 1518,

1526 (N.D. Fla. 1995) (citing Meyer, 486 U.S. at 426-27). The State does not meet its

burden to show the absence of material fact disputes on these tailoring issues here.

      Disclaimer Provision. The Disclaimer’s compelled speech is not narrowly

tailored to serve a voter confusion interest, Br. at 23, because voters were already

able to determine the sender of applications and Plaintiffs’ mailers already

explained that they were not sent by election officials. Supra Part III.A; see also

Lopach Decl., Ex. A (identifying Plaintiff 11 times). If the Disclaimer simply

required the sender’s contact and a statement that the mailer did not come from

the State, Plaintiffs would not have challenged it. See 6/10/2022 PI Tr. 220:23-221:9.


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      Defendants also contend that the required “This is NOT an official

government publication” language means ”voters are no longer left wondering if

they must complete it to vote.“ Br. at 23. But they put forward no evidence to

support that counterintuitive interpretation. To the contrary, Mr. Germany

testified that he thought the language—which his office initially drafted before SB

202 was amended to require third parties to use the government’s form—was

confusing and has lobbied for its removal. 6/10/2022 PI Tr. 95:1-20. By compelling

this language be placed on the official state-published form, Defendants created

new cause for voter questions, while answering none. 6/9/2023 PI Tr. 215:10-

219:20, 225:18-227:3. And if Georgia wants to reduce confusion between absentee

applications and ballots, it is unclear why the State would require the Disclaimer

only on forms distributed by third parties. Overall, the State ”cannot impose a

prophylactic rule requiring disclosure even where misleading statements are not

made;” to be narrowly tailored, it instead ”can assess liability for specific instances

of deliberate deception.“ Riley, 487 U.S. at 803 (Scalia, J., concurring).

      Mailing List Restriction. The paltry record of purported voter complaints

about receiving successive absentee applications does not justify the strict Mailing

List Restriction and its civil and criminal penalties. Many of Defendants’ cited

voter complaints state explicitly that the voter has not and does not plan to apply

to vote absentee, meaning the Restriction is no bar to those voters receiving

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subsequent mailers. See, e.g., Defs. Ex. H at 4, 15, 21, 22, 27; see also 6/10/2023 PI

Tr. 72:13-73:2; Evans Tr. 242:20-243:1. The Mailing List Restriction imposes severe

risks on Plaintiffs while simultaneously leaving the duplicate mailings issue

unaddressed: Plaintiffs can send unlimited applications to those who have not

applied to vote absentee but risk severe penalties for any discrepancies between

their mailing list and a constantly shifting absentee voter list that lacks accuracy.18

At the least, fact disputes remain concerning whether the Mailing List Restriction

is sufficiently tailored to serve the State’s asserted abstract interests.

      Prefilling Prohibition. Defendants similarly rely on fewer than two dozen

“tips” about receipt of purportedly inaccurately personalized applications to

justify the Prefilling Prohibition, many of which report receipt of an application

personalized for an individual who no longer lives at the address. Defs. Exs. G at

4-6, 11, 17, 21, 29; H at 16, 23, 28. Mr. Germany explained that these are often

caused by lags in removing voters from the State’s voter rolls. Ex. 6, Dep. of Ryan

Germany (“Germany Tr.”) 181:7-21. Thus, imperfections from prefilling can be

attributed to groups relying on data from the State’s own voter list to convey their


18 If SB 202 simply capped the number of ”waves” Plaintiffs could send to potential

Georgia voters, Plaintiffs would be free to schedule those ”waves” to arrive at peak
election cycles and avoid the risks imposed by SB 202’s ever-shifting prohibited
mailing list. But because of SB 202, Plaintiffs have been forced not only to send a
single wave but also to send it at the very beginning of the election cycle, when
voters are least engaged, to avoid penalties. Lopach Decl. ¶¶ 53-57.

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message. See, e.g., Defs. Ex. G at 7 (noting that voter’s concern was from a typo

creating “a duplicate entry for the same individual”). Defendants also do not show

that it is the prefilling that triggered voters’ concerns rather than other issues, such

as addressing; errors in the voter file will lead to occasional incorrect addresses,

just as the State’s application distribution experienced in 2020. 6/10/22 PI Tr. 49:2-

5, 65:4-7; GA-VA00052395. Fact disputes on these issues should be resolved at trial.

       Moreover, restrictions on Plaintiffs’ speech must also be the “least restrictive

means of achieving a compelling state interest;” it cannot “be either underinclusive

... or overinclusive.” Otto, 981 F.3d at 879 (quotations omitted). To satisfy this

requirement, “the government must demonstrate that alternative measures that

burden substantially less speech would fail to achieve the government’s interests,

not simply that the chosen route is easier.” McCullen v. Coakley, 573 U.S. 464, 495

(2014). Defendants fail to do so for each of the Ballot Application Restrictions.

       The record demonstrates that there are numerous less-restrictive avenues

for   addressing   alleged    voter   confusion,    fraud   concerns,    and   election

administration. The Secretary’s office conducts trainings that cover absentee

voting, including things like processing duplicate applications. Evans Tr. 78:6-79:2;

Ex. 18 at GA-VA00041544. Election officials also issue press releases and other

statements to promote the integrity of the absentee voting process and explain the

role that civic engagement groups play. Ex. 18 at GA-VA00052280, GA-

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VA00052835; GA-VA00055527. If the State wants to address voter confusion or

confidence, it should “communicate the desired information to the public” itself.

Riley, 487 U.S. at 800. The record also shows that Georgia’s preexisting processes

sufficiently safeguard against absentee voting fraud. Evans Tr. 85:6-17, 109:15-24,

110:22-111:5 (confirming that the state’s system can only issue a single ballot to a

voter at a time). These preexisting safeguards in Georgia law and practice can

promote confidence and reduce confusion without infringing free speech. At the

least, there are material fact disputes about whether these less restrictive means

are “adequate to the task” of addressing the state interests. Meyer, 486 U.S. at 427.

IV.   The Ballot Application Restrictions Are Unconstitutionally Overbroad.
      The Disclaimer and the Prefilling Prohibition are also unconstitutionally

overbroad.19 A law is overbroad if its ranging sweep invades areas of protected

speech and association. Bd. of Airport Comm'rs of City of Los Angeles v. Jews for Jesus,

Inc., 482 U.S. 569, 574 (1987); Broadrick v. Oklahoma, 413 U.S. 601, 612 (1973).

Likewise, for compelled speech, a law is overbroad if it makes speakers avoid

circumstances in which they would be compelled to speak. See Amy J. Sepinwall,

Free Speech and Off-Label Rights, 54 Ga. L. Rev. 463, 518–19 (2020) (collecting cases).




19 Given the regulation and Defendants’ representations in this case, Plaintiffs no

longer assert the Restrictions are vague. But they are unconstitutionally overbroad.

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      The Disclaimer broadly applies to “[a]ny application … sent to any voter by

any person or entity.” Ga. Comp. R. & Regs. 183-1-14-.12(3). As Defendants’ own

internal messages show, the confusing Disclaimer applies beyond mailings to

other unquestionably protected conduct. Ex. 18 at GA-VA00055527. This includes

applications “sent” between neighbors, from church groups to their parishioners,

and within families. The command that Plaintiffs affix “This is NOT an official

government publication” will also confuse and dissuade voters who receive a

mailer from civic organizations that, like Plaintiffs, already identify themselves

and must use the official application. Compelling this statement threatens to make

Plaintiffs   and   other   similar   speakers   forego   constitutionally   protected

communications rather than be compelled to carry the State’s misleading message.

      The Prefilling Prohibition also reaches substantial protected activity, chills

speech, and burdens innocent associations. It applies even when the personalized

information is accurate and drawn from the State’s own voter file. The Prohibition

is overbroad especially in light of the fact that county elections officials themselves

prefer prefilled applications because it reduces the number of incomplete or

inaccurate applications they must process. See Evans Tr. 219:4-222:6; Ex. 18 at GA-

VA00024557, GA-VA00038833, GA-VA00051968; 6/10/22 PI Tr. 122:4-11.

                                     CONCLUSION
      For the above reasons, summary judgment should be denied.


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Respectfully submitted this 31st day of January, 2023.


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                       CERTIFICATE OF SERVICE
                 AND COMPLIANCE WITH LOCAL RULE 5.1

      I hereby certify that I have this date electronically filed the within and

foregoing, which has been prepared using 13-point Book Antigua font, with the

Clerk of Court using the CM/ECF system which will automatically send email

notification of such filing to all attorneys of record.

      Dated: January 31, 2023.

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